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                                                                          6                     IN THE UNITED STATES DISTRICT COURT
                                                                          7                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                              IN RE: CATHODE RAY TUBE (CRT)          )    MDL No. 1917
                                                                          9   ANTITRUST LITIGATION                   )
                                                                                                                     )    Case No. C-07-5944-SC
                                                                         10                                          )
                               For the Northern District of California
United States District Court




                                                                                                                     )    ORDER APPOINTING SPECIAL
                                                                         11   This Order Relates To:                 )    MASTER FOR DISCOVERY
                                                                                                                     )
                                                                         12   ALL CASES                              )
                                                                                                                     )
                                                                         13                                          )
                                                                         14
                                                                         15
                                                                         16        The Court has suggested the appointment of the Honorable
                                                                         17   Vaughn Walker (Ret.) as discovery master for this case per Federal
                                                                         18   Rule of Civil Procedure 53(a) and (b).         The Court asked the parties
                                                                         19   to submit objections to or statements in support of this
                                                                         20   appointment.   All parties consent.        ECF Nos. 2204, 2205.    The Court
                                                                         21   finds that consideration of fairness, the prevention of undue delay
                                                                         22   and the amount of judicial resources expended adjudicating
                                                                         23   discovery disputes in this case constitute "exceptional
                                                                         24   circumstances" which require the appointment of a special master to
                                                                         25   oversee discovery.    See Harmston v. City & Cnty. of S.F., No. 07-
                                                                         26   01186 SI, 2007 WL 3306526, *9 (N.D. Cal. Nov. 6, 2007); Nat'l Ass'n
                                                                         27   of Radiation Survivors v. Turnage, 115 F.R.D. 543, 560 (N.D.Cal.
                                                                         28   1987).
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                                                                          1          IT IS HEREBY ORDERED that, pursuant to Federal Rule of Civil
                                                                          2   Procedure 53, Hon. Vaughn Walker (Ret.) is appointed as Special
                                                                          3   Master to supervise and preside over all discovery in this case.
                                                                          4   The Special Master has filed a declaration under 28 U.S.C. § 455
                                                                          5   stating that there is no ground for disqualification.
                                                                          6
                                                                          7     1.     Scope of Duties:   The Special Master shall adjudicate all
                                                                          8            pretrial discovery disputes in this case, including
                                                                          9            disputes arising during the course of depositions.        This
                                                                         10            Order shall apply to all cases currently pending in MDL No.
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                                                                         11            1917 and to all related actions that have been or will be
                                                                         12            originally filed in, transferred to, or removed to this
                                                                         13            Court and assigned thereto (collectively, "the MDL
                                                                         14            proceedings").   This Order is binding on all parties and
                                                                         15            their counsel in all cases currently pending or
                                                                         16            subsequently made part of these proceedings and shall
                                                                         17            govern each case in the proceedings unless it explicitly
                                                                         18            states that it relates to specific cases.
                                                                         19     2.     Scope of Authority:    The Special Master shall have all the
                                                                         20            authority provided in Federal Rule of Civil Procedure
                                                                         21            53(c), including, but not limited to, the authority to set
                                                                         22            the date, time, and place for all hearings determined by
                                                                         23            the Special Master to be necessary; to direct the issuance
                                                                         24            of subpoenas; to make rulings on objections or otherwise
                                                                         25            resolve disputes arising during the course of depositions;
                                                                         26            to preside over hearings (whether telephonic or in-person);
                                                                         27            to take evidence in connection with discovery disputes; to
                                                                         28            award fee allocations and non-contempt sanctions provided



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                                                                          1         by Federal Rules of Civil Procedure 37 and 45; and to
                                                                          2         recommend contempt sanctions.        Any motion pursuant to
                                                                          3         Federal Rule of Civil Procedure 37 or Civil Local Rule 37-1
                                                                          4         for sanctions for violations of the Special Master's orders
                                                                          5         shall be decided by the Special Master.
                                                                          6   3.    Procedures for Briefing Submitted to Special Master:             The
                                                                          7         Special Master may resolve disputes presented orally, in
                                                                          8         person or by telephone, in a letter brief, or in formal
                                                                          9         motions.    In the case of discovery disputes that are to be
                                                                         10         resolved by letter brief or written motions, all papers
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                                                                         11         will be submitted directly to the Special Master by email
                                                                         12         with a courtesy copy by United States Mail or overnight
                                                                         13         courier, as directed by the Special Master.          Briefing
                                                                         14         schedules will be determined by the Special Master.
                                                                         15   4.    Meet and Confer Required:         In the event of a discovery
                                                                         16         dispute, the parties shall first meet and confer in good
                                                                         17         faith to attempt to resolve the dispute.          In the event the
                                                                         18         parties are not able to reach an agreement, the dispute
                                                                         19         will be resolved by the Special Master.          The Special Master
                                                                         20         shall devise procedures for the parties to follow in
                                                                         21         seeking his intervention.
                                                                         22   5.    Preservation of Record:       Pursuant to Federal Rule of Civil
                                                                         23         Procedure 53(b)(2)(c), the Special Master shall maintain
                                                                         24         files consisting of all documents submitted by the parties
                                                                         25         and any written orders, findings, and/or recommendations.
                                                                         26         Any order issued by the Special Master shall be emailed to
                                                                         27         the parties.     Such emailing shall fulfill the Special
                                                                         28         Master's duty to serve the order on the parties.            In



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                                                                          1         addition, any order issued by the Special Master shall be
                                                                          2         filed with the Court via Electronic Case Filing (ECF) in a
                                                                          3         notice of ruling by the moving party.         Any records of the
                                                                          4         Special Master's activities other than written orders,
                                                                          5         findings, and/or recommendations shall be filed in
                                                                          6         accordance with paragraph 6(a) of this Order.
                                                                          7   6.    Action on Special Master's Orders, Reports, or
                                                                          8         Recommendations:
                                                                          9         a.    Pursuant to Federal Rule of Civil Procedure
                                                                         10               53(b)(2)(D), the procedure described in paragraphs
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                                                                         11               6(b) and 6(c) herein shall govern any action on the
                                                                         12               Special Master's orders, reports and/or
                                                                         13               recommendations.
                                                                         14         b.    Time Limits for Review.       Any party wishing to file
                                                                         15               objections to the Special Master's orders, reports
                                                                         16               and/or recommendations must file such objection with
                                                                         17               the Court within fourteen (14) days from the day the
                                                                         18               Special Master's order, report and/or recommendation
                                                                         19               is filed.    Review of the Special Master's orders will
                                                                         20               be subject to the same procedures as review of orders
                                                                         21               of a Magistrate Judge, except as otherwise provided
                                                                         22               herein.    See Civ. L.R. 72-2.
                                                                         23         c.    Filing the Record for Review.        The party filing the
                                                                         24               objection shall submit with such objection any record
                                                                         25               necessary for the Court to review the Special Master's
                                                                         26               order, report, and/or recommendation, including any
                                                                         27               transcripts of proceedings before the Special Master
                                                                         28               and any documents submitted by the parties in



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                                                                          1                connection with the Special Master's order, report,
                                                                          2                and/or recommendation.      Failure to provide the record
                                                                          3                shall constitute grounds for the Court to overrule the
                                                                          4                objection or deny the motion.
                                                                          5     7.   Ex Parte Communications.       To facilitate the fulfillment of
                                                                          6          his duties under this Order, the Special Master may
                                                                          7          communicate ex parte to the Court to the extent that he
                                                                          8          deems necessary and appropriate.        In addition, the Special
                                                                          9          Master may have ex parte communications with a party, but
                                                                         10          such communications shall be limited to administrative
                               For the Northern District of California
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                                                                         11          matters such as scheduling hearings, telephone calls or
                                                                         12          briefing, if such arrangements cannot be made in a timely
                                                                         13          manner by contacting the Special Master's administrative
                                                                         14          assistant.
                                                                         15     8.   Compensation:     The Special Master’s hourly fee shall be
                                                                         16          $800.00.    The Special Master shall, in his discretion,
                                                                         17          allocate and assess the payment of his fees among the
                                                                         18          parties, including allocation of all of his fees to one
                                                                         19          party should he determine that the party has acted in bad
                                                                         20          faith.    The parties shall pay the Special Master's fees
                                                                         21          within ten (10) calendar days of assessment, unless
                                                                         22          otherwise excused by the Special Master or the Court.
                                                                         23     9.   Diligence:    Pursuant to Federal Rule of Civil Procedure
                                                                         24          53(b)(2), the Court hereby directs the Special Master to
                                                                         25          proceed with all reasonable diligence in performing these
                                                                         26          duties.
                                                                         27   ///
                                                                         28   ///



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                                                                          1   At their earliest discretion, all parties with pending discovery
                                                                          2   disputes shall contact the Special Master to discuss the execution
                                                                          3   of his duties in connection with this order.
                                                                          4
                                                                          5   For scheduling purposes, the parties are to call (605) 475-4350,
                                                                          6   using code 215 2442 #.
                                                                          7
                                                                          8        IT IS SO ORDERED.
                                                                          9
                                                                         10        Dated: December 17, 2013
                               For the Northern District of California
United States District Court




                                                                         11                                            UNITED STATES DISTRICT JUDGE
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